Case 2:10-md-02179-CJB-DPC Document 11988-31 Filed 12/16/13 Page 1 of 5




                    EXHIBIT 30
Case 2:10-md-02179-CJB-DPC Document 11988-31 Filed 12/16/13 Page 2 of 5

                                                                                                  Page 1 of4



 Jeff Cahill

 From:      Sutton Lionel [lhs31aw@hotmail.com]
 Sent:      Monday, January 07, 2013 10:27 AM
 To:        Jeff Cahill; Glen Lerner External
 Subject: RE:
 Yes. That is my share. Please deposit in the crown acct so I can get it

 Lionel H . Sutton, Ill
 935 Gravier St., Ste. 1910
 New Orleans, LA 70112
 Office 504 592 3230
 Cell 504 957 4689


-----·- ------
Subject: RE:
Date: Mon, 7 Jan 2013 08:23:37 -0800
From: jcahill@glenlerner.com
To: glenlerneresq@aol.com; lhs31aw@hotmail.com

 We received $4,940 at the end oflhe year.

                       - - - - - - ----------·---
From: glen Ierner [mailto:glenlerneresq@aol.com]
Sent: Mon day, January 07, 2013 10:13 AM
To: Sutton Lionel; Jeff Cahill
Subject: Re:

Jeff, did we receive monies from Andry. If so, Tiger, how much is your fee?
On Jan 7, 2013, at 9:08AM, Sutton Lionel wrote:

         did u check on my fee from casey thonn. susie sent it to jeff mid december.

         Lionel H. Sutton, III
         935 Gravier St., Ste. 1910
         New Orleans, LA 70112
         Office 504 592 3230
         Cell 504 957 4689



       From: qlenlerneresa@aol.com
       Subject: Re:
       Date: Fri, 4 Jan 2013 17:03:44 -0500
       To: lhs31aw@hotmail.com

         Ok. understood. Need Tm agreement done. They've been dragging feet on it since meeting
         months ago. I'm not too crazy about them.
         On Jan 4, 2013, at 4:49PM, Sutton Lionel wrote:

               Some things are worth arguing about and some are not. Because we are friends.




 6/24/20[ 3




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Case 2:10-md-02179-CJB-DPC Document 11988-31 Filed 12/16/13 Page 3 of 5

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             Lionel H. Sutton, III
             935 Gravier St., Ste. 1910
             NewOrleans,LA 70112
             Office 504 592 3230
             Cell 504 957 4689


              --------- ------------- -·------------·--·----------   ----------------~-

             From: qlenlerneresq@aol.com
             Subject: Re:
             Date: Fri, 4 Jan 2013 16:39:40 ·0500
             To: lhs31aw@hotmail.com

             Thx. If you have any issues with anything I said you should let me know. We are still
             friends you know.
             On Jan 4, 2013, at 4:02 PM, Sutton Lionel wrote:

                   I don't necessarily agree with all said, but i understand your position. i
                   will work with mike to get it resolved.

                   Lionel H. Sutton, IU
                   935 Gravier St., Ste. 19 10
                   New Orleans, LA 70112
                   Office 504 592 3230
                   Cell 504 957 4689


                   > Subject: Re;
                   > From: glenlerneresq@aol.com
                   >Date: Fri, 4 Jan 2013 15:16:06 -0500
                   > CC: lhs31aw@hotmail.com; mbryaot@crownllc.us
                   > To: jcahill@qlenlerner.com
                   >
                   > Now you can see why I'm a little bitter. Originally you wanted to give
                   me 50% to put up $760,000.00 for the machine. Then you said 25% but
                   then I'd have 25% of all other technologies including beach cleaning. My
                   understanding is we don't even have the rights to that technology.
                   Nevertheless, I put up 50% more($1,121,000) than what I originally
                   agreed to put up as well as another $575k in salaries and expenses. You
                   may feel that Mike's salary is on me or was premature but I promise you
                   without it we would never be in the position we are with NAC. NAC has
                   said as much and that without corporate leadership we would have been
                   disregarded by their board. I've taken all the risk Tiger. We are close to
                   something here that would never have happened if I had not stepped up
                   to the plate. Very few people have the balls I do and put up this type of
                   money out of their own pocket. I'm blessed I can do it.
                   >
                   > The only change to the Operating Agreement should be an
                   apportionment of Mike's five percent (5%) I promised him for leading us
                   and Corey's (1%) for handling all legal matter as and agreements. That
                   will reduce all of us an additional 1.5% but I will agree that you still
                   retain a voting majority in unison although I don't envision huge
                   discrepancies in the direction of the company. However, I think for us to
                   go in the correct direction we need to focus on what works. Even once
                   we get this contract we are still a struggling little company but we will




 6/24/2013




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Case 2:10-md-02179-CJB-DPC Document 11988-31 Filed 12/16/13 Page 4 of 5

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             have credibility and we have people all over the world waiting to see this
             contract and for us to get going. We need machines to deploy for testing
             in Europe, TN, Mexico and South America ASAP. We can have a billion
             dollars worth of contracts in the next twelve months if we play our cards
             right. Now the hustle begins.
             > On Jan 4, 2013, at 11:36 AM, Jeff Cahill wrote:
             >
             > > Gentlemen - attached is a spreadsheet of advances to and
             payments for
             > > Crown, LLC.
             >>
             > > The first tab summarizes non-payroll payments from June through
             the end
             > > of October - $199,053.21.
             > > On the second tab - the top section shows non-payroll expenses for
             Jan.
             > > to May 2012 - $128,842.46
             > >the next section is payroll amounts (and a few misc. expense
             advances)
             > > through August - $66,493.87
             > > and the fast section shows advances to Crown through the end of
             October
             > > - $181,500.
             >>
             > > Total above is $575,889.54. A separate tab summarizes amounts
             paid to
             > > Proven Technologies for building the machine- $1,121,000. These
             > > payments were made from June 2010 through October 2011.
             >>
             > > At this time, we have payables of approximately $48,000 - payable
             > > primarily to Crown Resource Management, LLC and Proven
             Technologies.
             >>
             > > I stopped updating this spreadsheet as of the end of October
             because I
             > > am in the process of setting Crown, LLC up on QuickBooks. I should
             have
             > > that completely updated by the middle of next week and can then
             start
             > > sending out complete financial statements.
             > >
             > > I know early on some payments were being made from a Crown,
             LLC account
             > > setup by Tiger? If I can get copies of those bank statements and
             > > checks, I can incorporate them into QuickBooks to fully account for
             all
             > > the financial activity. And please let me know if anyone else was
             > > providing funding so that can be reflected in the financial
             statements.
             >>
             > > If you have any questions, please let me know.
             >>
             > >Jeff
             >>
             >>
             > > -----Original Message-----




 6/24/2013




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Case 2:10-md-02179-CJB-DPC Document 11988-31 Filed 12/16/13 Page 5 of 5

                                                                                                          Page4 of4



                     > > From: glen Ierner [mailto:glenlerneresq@aol.com]
                      > > Sent: Friday, January 04, 2013 8:54AM
                     > > To: Jeff cahill; Tiger Sutton
                     > >Subject:
                     >>
                     > > Please resend to Tiger and I all Crown costs to date, including my
                     buy
                     > > in and all payments to Proven, Manpower and salaries. Basically
                     every
                     > > cent I've put into Crown to date. He never received it last time
                     >>
                     >>
                     >>
                     >>
                     > > CONFIDENTIALITY NOTE: The information contained in this
                     message may be legally privileged and confidential information intended
                     only for the use of the
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                     the original message. Thank
                     >>you.
                     >>
                     >>
                     > > < 113012 nonwage expense summary 06 to ll.xls>
                     >




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 6/24/2013




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